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UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL pvisi

pene) FINAL JUDGMENT AND
ORDER OF DISMISSAL

GERHARD W. GOHLER, IRA, et al.,
On Behalf of Themselves and All
Others Similarly Situated,
Plaintiffs,
Vs.
ROBERT L. WOOD, et al.,
Defendants.

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No. 92-C-181-S

 

    

Deputy Clerk

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This matter having come before the Court for hearing, pursuant
to the Order of this Court, dated July 6, 1998, on the application
of the parties for approval of the settlement set forth in the
Stipulation and Agreement of Partial Settlement, dated as of May
21, 1998 (the "Settlement Agreement"), and due and adequate notice
having been given to the Settlement Class as required in said
Order, and the Court having considered all papers filed and
proceedings had herein and otherwise being fully informed in the
premises and good cause appearing therefore,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

1. This Judgment incorporates by reference the definitions
in the Settlement Agreement, and all terms used herein shall have
the same meanings as set forth in the Settlement Agreement.

2. This Court has jurisdiction over the subject matter of
this Litigation and over all parties to this Litigation, including
all Members of the Settlement Class.

3. Pursuant to Rule 23 of the Federal Rules of Civil
Procedure, this Court hereby approves the settlement set forth in
the Settlement Agreement without change or modification.

4, For purposes of the Settlement Agreement and this
Judgment, a Settlement Class (the "Settlement Class" or "Class") is
hereby certified as follows

all persons, including the Representative Plaintiffs, who

purchased or otherwise acquired Bonneville stock or

convertible subordinated debentures during the period
beginning August 15, 1986 through and including November

12, 1991, and who suffered any loss, damage or injury

with regard to such purchase or other acquisition.

Excluded from the Settlement Class are: Defendants,

Former Defendants and Bonneville; members of the

immediate family of any Individual Defendant or Former

Defendant; any entity in which any of the Defendants,
Former Defendants or Bonneville has or had a controlling
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interest; directors and officers of Bonneville and the

legal representatives, heirs, successors, or assigns of

any such excluded person or entity. Also excluded from

the Settlement Class are those persons who timely and

validly request exclusion from the Settlement Class.

5. The Persons identified on Exhibit 1 hereto have validly
and timely requested exclusion from the Settlement Class.

6. This Court hereby dismisses on the merits and with
prejudice and without costs the Litigation against Settling
Defendants Mayer Brown & Platt, Robert A. Helman and Harvey Nixon.

7. The Court finds that the Settlement Agreement and the
settlement set forth in the Settlement Agreement are the product of
substantial, good faith, arm’s length negotiations of the Settling
Parties and are in all respects fair, just, reasonable and adequate
to the Settlement Class and the Settling Defendants.

8. Upon the Effective Date hereof each and every Released
Claim of each and every Settlement Class Member, whether or not
such Settlement Class Member has filed a Proof of Claim and
Release, are by operation of this Judgment and shall be deemed to
be conclusively fully, finally, and forever released, relinquished
and discharged as against the Released Persons, excepting and
reserving to the Settlement Class any and all claims and causes of
action against the Non-Settling Defendants and any Person other
than the Released Persons.

9. The Representative Plaintiffs and all Settlement Class
Members are hereby forever restrained, barred, and permanently
enjoined from prosecuting, pursuing, or litigating any of the
Released Claims against any of the Released Persons in this or any

other forum.
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10. Upon the Effective Date hereto, each of the Released
Persons shall be deemed to have, and by operation of this Judgment
shall have, fully, finally, and forever released, relinquished and
discharged each and all of the Settlement Class Members and counsel
to the Representative Plaintiffs from all claims arising out of,
relating to, or in connection with the institution, prosecution,
assertion or resolution of the Litigation or the Released Claims,
excepting and reserving to the Settling Defendants any and all
claims and causes of action against the Non-Settling Defendants or
other Persons.

11. The Notice given to the Settlement Class of the
settlement set forth in the Settlement Agreement and the other
matters set forth therein was the best notice practicable under the
circumstances, including the individual notice to all members of
the Settlement Class who could be identified through reasonable
effort. Said Notice provided due and adequate notice of those
proceedings and of the matters set forth therein, including the
proposed settlement set forth in the Settlement Agreement, to all
persons entitled to such notice, and said Notice fully satisfied
the requirements of Rule 23 of the Federal Rules of Civil Procedure
and the requirements of due process.

12. Without affecting the finality of this Judgment in any
way, this Court hereby retains continuing jurisdiction over (a)
implementation of the Settlement, the Plan of Allocation and any
payment or distribution of the Settlement Fund, including interest
earned thereon; (b) disposition of the Settlement Fund; (c) hearing
and determining applications for attorneys’ fees, costs, expenses

and interest (including fees and costs of experts and/or
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consultants) in the Litigation; and (d) all parties for the purpose
of enforcing and administering the Settlement Agreement and this
Judgment.

13. Inthe event that the Effective Date does not occur, then
this Judgment shall be rendered null and void and shall be vacated
and, in such event, subject to 412.4 of the Settlement Agreement,
all orders entered and releases delivered in connection herewith
shall be null and void and the parties shall be restored to the
status quo with regard to the Litigation as of May 21, 1998,
without prejudice to any claims, defenses, or liabilities,
including recovery by Mayer Brown & Platt of the Settlement Fund,
together with interest thereon pursuant to qg.4 of the Settlement
Agreement.

14. The Court expressly finds that there is no just reason
for delay and the Clerk of the Court is hereby ordered to enter
this Final Judgment and Order of Dismissal as a final judgment and

order pursuant to Fed. R. Civ.

P. 54(b).
Ube dhe —
DATED: 2£, 149

THE HONORABLE DAVID SAM
UNITED STATES DISTRICT JUDGE

 

Submitted by:

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KEITH F. PARK

BLAKE M. HARPER (#1377)

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Case 2:92-cv-00181-DS Document 607 Filed 08/31/98 PagelD.119 Page 8 of 16

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CLAIM CENTER

July 16, 1998

Bonneville Securities Litigation

c/o Gilardi & Co. LLC . '
P.O. Box 5100 |

Larkspur, California 94977-5100

| request exclusion from the Settlement Class in the above noted Litigation.

Bonneville Common Stock :
Purchased 100 Shares on 10/29/86 @ $9 3/8 $937.50

Solid 100 Shares on 07/10/87 @ $12 3/8 $1,237.50

 

Richard L.\Stevens

4532 S. Swallow St.

Santa Maria, CA 93454-7258
(805) 925-0874
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CLAIM CENTER

August 17, 1998

BONNEVILLE SECURITIES LITIGATION
c/o GILARDI AND COMPANY LLC

Post Office Box 5100

Larkspur, California 94977-5100

Dear Sir:

Please be advised that | am in receipt of your notice applicable to the class
action suit between Gerhard W. Gohler, Plaintiff and Robert L. Wood, Defendant.
This letter will serve as your notification that | do not wish to be included in this
clalm or the settlement. if there are any questions please let me know,

Youss Very truly,

/,

David E.’Harrison

680 River Knoll Drive
Marietta, GA 30067
770-953-3481

Attachment

ELS. aNl 86-Se-O/V

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klh
United States District Court
for the
District of Utah
August 31, 1998

* * MAILING CERTIFICATE OF CLERK * *

Re: 2:92-cv-00181

True and correct copies of the attached were mailed by the clerk to the
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